UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 

 

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ADIDAS AMERICA, INC., AND ADIDAS :
AG,

Plaintiffs, : 21-cv-5615 (JSR)

-V- : ORDER
THOM BROWNE INC.,
Defendant. :

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JED S. RAKOFF, U.S.D.J.

On September 21, 2022, the Honorable Robert W. Lehrburger,

 

United States Magistrate Judge, issued a detailed Report and

Recommendation in the above-captioned matter recommending that

 

plaintiffs’ motion to dismiss defendant’s counterclaim pursuant to
Fed. R. Civ. P. 12(b)(6) and strike defendant’s first, ninth, and
twelfth affirmative defenses pursuant to Fed. R. Civ. P. 12(f£) be
granted in part and denied in part. Defendant timely filed its
objection on October 5, 2022. Plaintiffs timely responded to
defendant’s objection on October 10, 2022. The Court has reviewed
the record and the issues de novo.

Having done so, the Court finds itself in complete agreement
with Magistrate Judge Lehrburger’s Report and Recommendation.
Accordingly, the Court grants plaintiffs’ motion to dismiss the

defendant’s counterclaim, grants plaintiffs’ motion to strike

 
defendant’s twelfth affirmative defense, grants plaintiffs’ motion
to strike defendant’s ninth affirmative defense except for that
portion of that defense which reads “adidas suffered no harm or
damages,” and denies plaintiffs’ motion to dismiss defendant's
first affirmative defense. Defendant’s counterclaim is dismissed
with prejudice. The Clerk of the Court is respectfully directed to

close ECF No. 52 on the docket.

 

SO ORDERED.
Dated: New York, NY Sy 70. buf
october [§, 2022 GS. RAKOFF, U. a s.D..

 

 

 
